Case 1-17-01085-ess   Doc 191-25   Filed 02/03/20   Entered 02/03/20 23:22:48




                          Exhibit M
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK


                          STATEMENT PURSUANT TO LOCAL BANKRUPTCY RULE 1073-2(b)


DEBTORS:         Reeham Youssef                                Case No.




        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following
disclosure concerning Related Cases, to the petitioner’s best knowledge, information and belief:


[NOTE: Cases shall be deemed "Related Cases” for purposes of E.D.N.Y. LBR 10 73-1 and E.D.N.Y. LBR 10 73-2 if the
earlier case was pending at any time within six years before the filing of the new petition, and the debtors in such cases: (i)
are the same; (ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners
in the same partnership; (v) are a partnership and one or more of its general partners; (vi) are partnerships which share
one or more common general partners; or (vii) have, or within 180 days of the commencement of either of the Related
Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]


    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.


    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: ______________ JUDGE: _________________ DISTRICT/DIVISION: __________________________

    CASE STILL PENDING (Y/N): ___ [If closed] Date of closing: ___________________

    CURRENT STATUS OF RELATED CASE: ___________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)
    MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _____________________________________

    REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
    SCHEDULE “A” OF RELATED CASE: ______________________________________________________________


2. CASE NO.: ______________ JUDGE: _________________ DISTRICT/DIVISION: __________________________

    CASE STILL PENDING (Y/N): ___ [If closed] Date of closing: ___________________

    CURRENT STATUS OF RELATED CASE: ___________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)
    MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _____________________________________

    REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
    SCHEDULE “A” OF RELATED CASE: ______________________________________________________________
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DISCLOSURE OF RELATED CASES (cont'd)


3. CASE NO.: ______________ JUDGE: _________________ DISTRICT/DIVISION: __________________________

    CASE STILL PENDING (Y/N): ___ [If closed] Date of closing: ___________________

    CURRENT STATUS OF RELATED CASE: ___________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.)
    MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _____________________________________

    REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
    SCHEDULE “A” OF RELATED CASE: ______________________________________________________________


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180
days may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility
to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.



/s/ Charles W. Juntikka
Charles W. Juntikka                                         Signature of Pro Se Debtor/Petitioner
Attorney for Debtor(s)
                                                            __________________________________________________
                                                            Mailing Address of Debtor/Petitioner

                                                            _________________________________________________
                                                            City, State, Zip Code

                                                            _________________________________________________
                                                            Area Code and Telephone Number



Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.
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B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                                EASTERN DISTRICT OF NEW YORK                                                                                     Voluntary Petition
                                                      BROOKLYN DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Youssef, Reeham

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka Reeham Navarro Youssef; aka Reeham N Youssef



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-5440                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
70 Grant Avenue
Brooklyn, NY
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            11208
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Kings
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2013 (Build 9.1.74.1, ID 3362198473)
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B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Reeham Youssef
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Charles W. Juntikka                                           10/29/2013
                                                                                                 Charles W. Juntikka                                                   Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Reeham Youssef
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Reeham Youssef
      Reeham Youssef
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     10/29/2013
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Charles W. Juntikka                                                               defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Charles W. Juntikka                              Bar No. 4689                          have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 CHARLES JUNTIKKA & ASSOCIATES, LLP
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 350 Fifth Avenue, Suite 4610                                                                given the debtor notice of the maximum amount before preparing any document
 New York, NY 10118                                                                          for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (212) 315-3755
 Phone No.______________________        (212) 315-9032
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/29/2013
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                   BROOKLYN DIVISION
In re:   Reeham Youssef                                                                  Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                   BROOKLYN DIVISION
In re:   Reeham Youssef                                                               Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Reeham Youssef
                       Reeham Youssef

Date:       10/29/2013
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B6A (Official Form 6A) (12/07)



In re Reeham Youssef                                                    Case No.
                                                                                                              (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                           Current Value




                                                                                 Husband, Wife, Joint,
                                                                                                            of Debtor's
                   Description and                     Nature of Debtor's




                                                                                   or Community
                                                                                                             Interest in
                     Location of                      Interest in Property
                                                                                                         Property, Without    Amount Of
                      Property                                                                                               Secured Claim
                                                                                                          Deducting Any
                                                                                                          Secured Claim
                                                                                                           or Exemption


 None                                          None                                 -                               $0.00             $0.00




                                                                             Total:                                 $0.00
                                                                             (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Reeham Youssef                                                                       Case No.
                                                                                                        (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,
                                          None
                                                                                                                                     Without Deducting
             Type of Property                                    Description and Location of Property                                  any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Citibank - Checking account                                       -                           $0.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Citibank - Savings account                                        -                           $0.00
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household goods                                                   -                         $100.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                          -                          $50.00



7. Furs and jewelry.                             Jewelry/watch                                                     -                          $20.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.
               Case
                 Case
                    1-17-01085-ess
                       1-13-46495-essDocDoc
                                         191-25
                                            1 Filed
                                                 Filed
                                                    10/29/13
                                                       02/03/20Entered
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                                                                                   23:22:48

B6B (Official Form 6B) (12/07) -- Cont.




In re Reeham Youssef                                                            Case No.
                                                                                             (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                  Husband, Wife, Joint,
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest




                                                                                                    or Community
                                                                                                                             in Property,
                                           None
                                                                                                                          Without Deducting
             Type of Property                         Description and Location of Property                                  any Secured
                                                                                                                               Claim or
                                                                                                                              Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
               Case
                 Case
                    1-17-01085-ess
                       1-13-46495-essDocDoc
                                         191-25
                                            1 Filed
                                                 Filed
                                                    10/29/13
                                                       02/03/20Entered
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B6B (Official Form 6B) (12/07) -- Cont.




In re Reeham Youssef                                                             Case No.
                                                                                              (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                   Husband, Wife, Joint,
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest




                                                                                                     or Community
                                                                                                                              in Property,
                                            None
                                                                                                                           Without Deducting
             Type of Property                          Description and Location of Property                                  any Secured
                                                                                                                                Claim or
                                                                                                                               Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,          X
and other vehicles and accessories.

26. Boats, motors, and accessories.         X
               Case
                 Case
                    1-17-01085-ess
                       1-13-46495-essDocDoc
                                         191-25
                                            1 Filed
                                                 Filed
                                                    10/29/13
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B6B (Official Form 6B) (12/07) -- Cont.




In re Reeham Youssef                                                                          Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None
                                                                                                                                                  Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                              $170.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
                                           1 Filed
                                                Filed
                                                   10/29/13
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B6C (Official Form 6C) (4/13)



In re Reeham Youssef                                                                           Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 Citibank - Checking account                             11 U.S.C. § 522(d)(5)                                       $0.00                      $0.00

 Citibank - Savings account                              11 U.S.C. § 522(d)(5)                                       $0.00                      $0.00

 Household goods                                         11 U.S.C. § 522(d)(3)                                    $100.00                 $100.00

 Clothing                                                11 U.S.C. § 522(d)(3)                                      $50.00                  $50.00

 Jewelry/watch                                           11 U.S.C. § 522(d)(4)                                      $20.00                  $20.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                  $170.00                 $170.00
             Case
               Case
                  1-17-01085-ess
                     1-13-46495-essDocDoc
                                       191-25
                                          1 Filed
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B6D (Official Form 6D) (12/07)
          In re Reeham Youssef                                                                           Case No.
                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                        DATE CLAIM WAS                               AMOUNT OF          UNSECURED




                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                        INCURRED, NATURE                                 CLAIM            PORTION, IF




                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                        OF LIEN, AND                                 WITHOUT              ANY
         AN ACCOUNT NUMBER                                                         DESCRIPTION AND                               DEDUCTING
         (See Instructions Above.)                                                     VALUE OF                                   VALUE OF
                                                                                  PROPERTY SUBJECT                               COLLATERAL
                                                                                        TO LIEN




                                                                                         Subtotal (Total of this Page) >                   $0.00               $0.00
                                                                                        Total (Use only on last page) >                     $0.00               $0.00
________________continuation
       No                    sheets attached                                                                                     (Report also on    (If applicable,
                                                                                                                                 Summary of         report also on
                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                    Summary of
                                                                                                                                                    Certain Liabilities
                                                                                                                                                    and Related
                                                                                                                                                    Data.)
              Case
                Case
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                      1-13-46495-essDocDoc
                                        191-25
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B6E (Official Form 6E) (04/13)
In re Reeham Youssef                                                                              Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
             Case
               Case
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B6F (Official Form 6F) (12/07)
  In re Reeham Youssef                                                                                              Case No.
                                                                                                                               (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: 52765                                                                         DATE INCURRED:   10/2003
                                                                                      CONSIDERATION:
Acs/Bank of America                                                                   Student Loan                                                      $6,192.00
501 Bleeker Street                                                                    REMARKS:
                                                                  -
Utica, NY 13501



ACCT #: 06034932971                                                                   DATE INCURRED:
                                                                                      CONSIDERATION:
American Medical Collection Agency                                                    Notice Only                                                     Notice Only
2269 South Saw Mill River Road                                                        REMARKS:
                                                                  -
Building 3
Elmsford, NY 10523

ACCT #: 20712999                                                                      DATE INCURRED:
                                                                                      CONSIDERATION:
Associated Recovery Systems                                                           Notice Only                                                     Notice Only
P.O. Box 463023                                                                       REMARKS:
                                                                  -
Escondido, CA 92046-3023



ACCT #: 15277090090503280                                                             DATE INCURRED:   05/2009
                                                                                      CONSIDERATION:
Cach, LLC                                                                             Factoring Company Account                                         $2,673.00
4340 S Monaco Street-Unit 2                                                           REMARKS:
                                                                  -
Denver, CO 80237-3408                                                                 Original Creditor: Sleepys/GECRB



ACCT #: 120005124865                                                                  DATE INCURRED:   02/2011
                                                                                      CONSIDERATION:
Cach, LLC                                                                             Factoring Company Account                                         $2,271.00
4340 S Monaco Street-Unit 2                                                           REMARKS:
                                                                  -
Denver, CO 80237-3408                                                                 Original Creditor: Citicorp Trust Bank



ACCT #: 994073                                                                        DATE INCURRED:   05/28/2008
                                                                                      CONSIDERATION:
Citibank Credit Card Services                                                         Consumer Debt                                                     $3,442.00
P.O. Box 20487                                                                        REMARKS:
                                                                  -
Kansas City, MO 64195-9904



                                                                                                                                 Subtotal >             $14,578.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       6                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                                  Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5121-0719-3557-6714                                                               DATE INCURRED:   07/11/2008
                                                                                          CONSIDERATION:
Citibank Credit Card Services                                                             Notice Only                                                     Notice Only
P.O. Box 20487                                                                            REMARKS:
                                                                      -
Kansas City, MO 64195-9904



ACCT #: 5424-1808-7133-4402                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Citibank Credit Card Services                                                             Notice Only                                                     Notice Only
P.O. Box 20487                                                                            REMARKS:
                                                                      -
Kansas City, MO 64195-9904



ACCT #: 3372                                                                              DATE INCURRED:   04/01/2006
                                                                                          CONSIDERATION:
Citibank Na                                                                               Line of Credit                                                     $625.00
PO Box 769006                                                                             REMARKS:
                                                                      -
San Antonio, TX 78245-9006



ACCT #: 527654                                                                            DATE INCURRED:   10/19/2004
                                                                                          CONSIDERATION:
Citibank Student Loan                                                                     Notice Only                                                     Notice Only
701 E. 60th Street                                                                        REMARKS:
                                                                      -
Sioux Falls, SD 57104



ACCT #: 0006032590414809854                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Citicorp Trust Bank                                                                       Notice Only                                                     Notice Only
PO Box 769006                                                                             REMARKS:
                                                                      -
San Antonio, TX 78245-9006



ACCT #: 28142                                                                             DATE INCURRED:   09/01/2004
                                                                                          CONSIDERATION:
Comenity Bank                                                                             Notice Only                                                     Notice Only
P.O. Box 182125                                                                           REMARKS:
                                                                      -
Columbus, OH 43218



Sheet no. __________
              1        of __________
                               6     continuation sheets attached to                                                                 Subtotal >               $625.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
                                           1 Filed
                                                Filed
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                               Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Con Edison                                                                                Notice Only                                                  Notice Only
Legal Dept.                                                                               REMARKS:
                                                                      -
4 Irving Place, 18th Floor                                                                Purchased by I C Systems Collection
New York, New York 10003

ACCT #: 15277090090503280                                                                 DATE INCURRED:
                                                                                          CONSIDERATION:
Daniels & Norelli, P.C.                                                                   Notice Only                                                  Notice Only
1 Old Country Road Ste Ll5                                                                REMARKS:
                                                                      -
Carle Place, NY 11514



ACCT #: 120005124865-261-13                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Daniels & Norelli, P.C.                                                                   Notice Only                                                  Notice Only
1 Old Country Road Ste LL5                                                                REMARKS:
                                                                      -
Carle Place, NY 11514



ACCT #: 6019191006697729                                                                  DATE INCURRED:   07/2008
                                                                                          CONSIDERATION:
Ge Money Bank                                                                             Notice Only                                                  Notice Only
Attn: Bankrutpcy Dept                                                                     REMARKS:
                                                                      -
P.O. Box 103106
Roswell, GA 30076

ACCT #: 6034611919369471                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Ge Money Bank                                                                             Notice Only                                                  Notice Only
Attn: Bankrutpcy Dept                                                                     REMARKS:
                                                                      -
P.O. Box 103106
Roswell, GA 30076

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Harold E. Scherr                                                                          Notice Only                                                  Notice Only
1064 Greenwood Blvd.-Suite 328                                                            REMARKS:
                                                                      -
Lake Mary, FL 32746



Sheet no. __________
              2        of __________
                               6     continuation sheets attached to                                                              Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                                  Case No.
                                                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                     AMOUNT OF




                                                                                                                                             UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                        CLAIM




                                                                                                                                              CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                               DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5270099                                                                           DATE INCURRED:   02/11/2013
                                                                                          CONSIDERATION:
I. C. System Inc.                                                                         Factoring Company Account                                              $190.00
444 Highway 96 East                                                                       REMARKS:
                                                                      -
P.O. Box 64378                                                                            Original Creditor: Con Edison
St. Paul, MN 55164

ACCT #: 5121-0719-3557-6714                                                               DATE INCURRED:   03/28/2011
                                                                                          CONSIDERATION:
Lvnv Funding                                                                              Factoring Company Account                                            $3,831.00
P.O. Box 10584                                                                            REMARKS:
                                                                      -
Greenville, SC 29603                                                                      Original Creditor: Citibank



ACCT #: 7365801                                                                           DATE INCURRED:   07/09/2010
                                                                                          CONSIDERATION:
Ny State Higher Education Svcs. Corp.                                                     Student Loan                                                         $6,687.00
99 Washington Avenue                                                                      REMARKS:
                                                                      -
Albany, NY 12255                                                                          Original Creditor: Fleet Bank



ACCT #: 58308                                                                             DATE INCURRED:   12/14/2010
                                                                                          CONSIDERATION:
Paul Michael Marketing                                                                    Factoring Company Account                                               $51.00
159-16 Union Turnpike-Ste. 302                                                            REMARKS:
                                                                      -
Flushing, NY 11366                                                                        Original Creditor: Medical Sunrise Medical
                                                                                          Labs


ACCT #: 103096676                                                                         DATE INCURRED:   05/05/2009
                                                                                          CONSIDERATION:
Quest Diagnostics                                                                         Medical Bill                                                           $595.65
P. O. Box 71306                                                                           REMARKS:
                                                                      -
Patient Billing Dept
Philadelphia, PA 19176-1306

ACCT #: 92803241621000                                                                    DATE INCURRED:   12/20/2005
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                         $9,055.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

Sheet no. __________
              3        of __________
                               6     continuation sheets attached to                                                                     Subtotal >            $20,409.65
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
                                           1 Filed
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                                  Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 92803241621000                                                                    DATE INCURRED:   08/22/2006
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                     $13,413.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 92803241621000                                                                    DATE INCURRED:   09/28/2006
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                      $6,415.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 92803241621000                                                                    DATE INCURRED:   10/27/2006
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                     $35,580.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 92803241621000                                                                    DATE INCURRED:   11/13/2006
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                     $23,596.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 92803241621000                                                                    DATE INCURRED:   03/06/2007
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                      $4,095.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 92803241621000                                                                    DATE INCURRED:   07/26/2007
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                     $16,275.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

Sheet no. __________
              4        of __________
                               6     continuation sheets attached to                                                                 Subtotal >             $99,374.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                                  Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 92803241621000                                                                    DATE INCURRED:   10/30/2007
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loan                                                     $29,493.00
Loan Servicing Center                                                                     REMARKS:
                                                                      -
PO Box 9500
Wilkes Barre, PA 18773-9500

ACCT #: 5121-0719-3557-6714                                                               DATE INCURRED:   07/11/2008
                                                                                          CONSIDERATION:
Sears/Citibank                                                                            Notice Only                                                     Notice Only
PO Box 20363                                                                              REMARKS:
                                                                      -
Kansas City, MO 64195



ACCT #: 6019191006697729                                                                  DATE INCURRED:   07/2008
                                                                                          CONSIDERATION:
Sleepy's-Gemb                                                                             Notice Only                                                     Notice Only
P.O. 981439                                                                               REMARKS:
                                                                      -
El Paso, TX 79998-1438



ACCT #: Z2113228-0                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Sunrise Medical Labs                                                                      Notice Only                                                     Notice Only
250 Miller Place                                                                          REMARKS:
                                                                      -
Hicksville, NY 11801-1826



ACCT #: 52765                                                                             DATE INCURRED:   11/23/2005
                                                                                          CONSIDERATION:
U.S. Department of Education                                                              Notice Only                                                     Notice Only
Bankrutpcy Litigation Support                                                             REMARKS:
                                                                      -
50 Beale Street-Suite 8626
San Francisco, CA 94105

ACCT #: 70000171745                                                                       DATE INCURRED:   11/23/2005
                                                                                          CONSIDERATION:
U.S. Department of Education                                                              Notice Only                                                     Notice Only
Bankrutpcy Litigation Support                                                             REMARKS:
                                                                      -
50 Beale Street-Suite 8626
San Francisco, CA 94105

Sheet no. __________
              5        of __________
                               6     continuation sheets attached to                                                                 Subtotal >             $29,493.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
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B6F (Official Form 6F) (12/07) - Cont.
  In re Reeham Youssef                                                                                                  Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 28142                                                                             DATE INCURRED:   09/01/2004
                                                                                          CONSIDERATION:
Victoria's Secret - Comenity Bank                                                         Credit Card                                                        $276.00
P.O. Box 182273                                                                           REMARKS:
                                                                      -
Columbus, OH 43218




Sheet no. __________
              6        of __________
                               6     continuation sheets attached to                                                                 Subtotal >               $276.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $164,755.65
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
              Case
                Case
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                      1-13-46495-essDocDoc
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B6G (Official Form 6G) (12/07)
   In re Reeham Youssef                                                                 Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
               Case
                 Case
                    1-17-01085-ess
                       1-13-46495-essDocDoc
                                         191-25
                                            1 Filed
                                                 Filed
                                                    10/29/13
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                                                                       10/29/13
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B6H (Official Form 6H) (12/07)
In re Reeham Youssef                                                                               Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
               Case
                 Case
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                       1-13-46495-essDocDoc
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B6I (Official Form 6I) (12/07)
In re Reeham Youssef                                                                             Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Divorced




 Employment:                      Debtor                                                     Spouse
 Occupation                      Administrative Assistant
 Name of Employer                Garrett H. Bennett MDPC
 How Long Employed               Since February 18, 2013
 Address of Employer



INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $3,384.62
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                     $3,384.62
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                $1,006.01
   b. Social Security Tax                                                                                           $0.00
   c. Medicare                                                                                                      $0.00
   d. Insurance                                                                                                     $2.40
   e. Union dues                                                                                                    $0.00
   f. Retirement                                                                                                    $0.00
   g. Other (Specify)                                                                                               $0.00
   h. Other (Specify)                                                                                               $0.00
   i. Other (Specify)                                                                                               $0.00
   j. Other (Specify)                                                                                               $0.00
   k. Other (Specify)                                                                                               $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                               $1,008.41
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $2,376.21
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00
8.  Income from real property                                                                                        $0.00
9.  Interest and dividends                                                                                           $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $2,376.21
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $2,376.21
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
                                           1 Filed
                                                Filed
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B6J (Official Form 6J) (12/07)
  IN RE: Reeham Youssef                                                                         Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $500.00
    a. Are real estate taxes included?           Yes         No
    b. Is property insurance included?           Yes         No

 2. Utilities: a. Electricity and heating fuel                                                                                               $100.00
               b. Water and sewer
               c. Telephone                                                                                                                  $127.00
               d. Other: Cable/Internet                                                                                                        $8.00
 3. Home maintenance (repairs and upkeep)
 4. Food                                                                                                                                     $680.00
 5. Clothing                                                                                                                                 $100.00
 6. Laundry and dry cleaning                                                                                                                 $180.00
 7. Medical and dental expenses                                                                                                              $200.00
 8. Transportation (not including car payments)
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                         $100.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                 $382.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                          $2,377.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.



 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $2,376.21
 b. Average monthly expenses from Line 18 above                                                                                           $2,377.00
 c. Monthly net income (a. minus b.)                                                                                                         ($0.79)
          Case
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                  1-13-46495-essDocDoc
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                                          UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF NEW YORK
                                                 BROOKLYN DIVISION
IN RE:   Reeham Youssef                                               CASE NO

                                                                      CHAPTER   7

                                              EXHIBIT TO SCHEDULE J




                                              Itemized Personal Expenses

Expense                                                                                       Amount

Public Transportation                                                                          $112.00
Car Expenses (Gas,Parking,Tolls,Maint.)                                                        $100.00
Toiletries                                                                                     $155.00
Haircuts/Hair Care                                                                              $15.00

                                                                                    Total >   $382.00
             Case
               Case
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                     1-13-46495-essDocDoc
                                       191-25
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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NEW YORK
                                                    BROOKLYN DIVISION
   In re Reeham Youssef                                                              Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                        $0.00


 B - Personal Property                           Yes      4                     $170.00


 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      1                                                 $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      7                                           $164,755.65
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $2,376.21
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      2                                                                  $2,377.00
    Individual Debtor(s)

                                             TOTAL        20                    $170.00               $164,755.65
              Case
                Case
                   1-17-01085-ess
                      1-13-46495-essDocDoc
                                        191-25
                                           1 Filed
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                                                                         02/03/20
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                   BROOKLYN DIVISION
   In re Reeham Youssef                                                               Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                   $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                 $150,801.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL           $150,801.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $2,376.21

 Average Expenses (from Schedule J, Line 18)                                   $2,377.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $3,487.18

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $164,755.65

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $164,755.65
             Case
               Case
                  1-17-01085-ess
                     1-13-46495-essDocDoc
                                       191-25
                                          1 Filed
                                               Filed
                                                  10/29/13
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                                                               Entered
                                                                     10/29/13
                                                                        02/03/20
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Reeham Youssef                                                                   Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 10/29/2013                                              Signature    /s/ Reeham Youssef
                                                                         Reeham Youssef

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
               Case
                 Case
                    1-17-01085-ess
                       1-13-46495-essDocDoc
                                         191-25
                                            1 Filed
                                                 Filed
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                                                                 Entered
                                                                       10/29/13
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NEW YORK
                                                         BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                           Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $30,000.00                  2011 Employment income

        $33,090.00                  2012 Employment income

        $20,615.38                  2013 YTD employment income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NEW YORK
                                                        BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                        Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                            COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING             AND LOCATION                    DISPOSITION
        Cach, LLC v. Reeham Youssef                   Default on credit card           Civil Court of the City of      Summons
                                                      agreement                        New York, County of
                                                                                       Queens

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NEW YORK
                                                        BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                         Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        CHARLES JUNTIKKA & ASSOCIATES, LLP                                                             $1,440.00
        350 Fifth Avenue, Suite 4610
        New York, NY 10118

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NEW YORK
                                                         BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                          Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                        NAME USED                                         DATES OF OCCUPANCY
        2033 38th Street                                               Reeham Youssef                                    2010-2013
        Astoria, NY 11105

        30-38 14th Street                                              Reeham Youssef                                    2009-2010
        Apt 2R
        Astoria, NY 11102

       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NEW YORK
                                                         BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                           Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NEW YORK
                                                         BROOKLYN DIVISION
   In re:   Reeham Youssef                                                                            Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5



       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.
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B7 (Official Form 7) (04/13)              UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                   BROOKLYN DIVISION
   In re:   Reeham Youssef                                                               Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 6



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 10/29/2013                                                Signature         /s/ Reeham Youssef
                                                               of Debtor         Reeham Youssef

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF NEW YORK
                                                       BROOKLYN DIVISION
  IN RE:     Reeham Youssef                                                                CASE NO

                                                                                           CHAPTER       7

                         CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.    1

 Creditor's Name:                                                               Describe Property Securing Debt:
 None




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.        1
 Lessor's Name:                                                Describe Leased Property:                     Lease will be Assumed pursuant to
 None                                                                                                        11 U.S.C. § 365(p)(2):

                                                                                                             YES              NO
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  B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK
                                              BROOKLYN DIVISION
  IN RE:    Reeham Youssef                                                        CASE NO

                                                                                  CHAPTER    7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                     Continuation Sheet No. 1

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 10/29/2013                                           Signature    /s/ Reeham Youssef
                                                                      Reeham Youssef




Date                                                      Signature
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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK
                                               BROOKLYN DIVISION
In re Reeham Youssef                                                                      Case No.
                                                                                          Chapter             7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Reeham Youssef                                                      X    /s/ Reeham Youssef                                10/29/2013
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,             Charles W. Juntikka                  , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Charles W. Juntikka
Charles W. Juntikka, Attorney for Debtor(s)
Bar No.: 4689
CHARLES JUNTIKKA & ASSOCIATES, LLP
350 Fifth Avenue, Suite 4610
New York, NY 10118
Phone: (212) 315-3755
Fax: (212) 315-9032




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (11/12)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $46 administrative fee: Total fee $281)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $46 administrative fee: Total fee $1213)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $46 administrative fee: Total fee $246)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF NEW YORK
                                                  BROOKLYN DIVISION
IN RE:     Reeham Youssef                                                                CASE NO

                                                                                         CHAPTER      7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,440.00
     Prior to the filing of this statement I have received:                                        $1,440.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      10/29/2013                              /s/ Charles W. Juntikka
                         Date                                 Charles W. Juntikka                        Bar No. 4689
                                                              CHARLES JUNTIKKA & ASSOCIATES, LLP
                                                              350 Fifth Avenue, Suite 4610
                                                              New York, NY 10118
                                                              Phone: (212) 315-3755 / Fax: (212) 315-9032




      /s/ Reeham Youssef
     Reeham Youssef
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________

IN RE:        Reeham Youssef                                         STATEMENT PURSUANT

                                                                     TO LOCAL RULE 2017

            Debtor(s)                                                Case No.
____________________________________                                 Chapter 7


         I, Charles W. Juntikka, an attorney duly admitted to practice in this Court, state:

         1.      That I am the attorney for the above named debtor(s).

       2.       That prior to the filing of the petition herein, my firm rendered the following
services to the above named debtor(s).

         DATE                           SERVICE                        TIME

         05/25/2010             Initial interview, analysis of         1 hour
                                financial condition, etc.

         09/11/2013             Preparation and review of              3 hours
                                Bankruptcy petition

         3.      That my firm will also represent the debtor(s) at the first meeting of creditors.

       4.        That all services rendered prior to the filing of the petition herein were rendered
by my firm.

         5.      That my usual rate of compensation on bankruptcy matters of this type is $1,380.

Dated: October 29, 2013


                                                        /s/ Charles W. Juntikka
                                                        Charles W. Juntikka
                                                        Attorney for debtor(s)
                                                        Charles Juntikka & Associates, LLP
                                                        350 Fifth Avenue, Suite 4610
                                                        New York, NY 10118
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                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF NEW YORK
                                             BROOKLYN DIVISION
  IN RE:   Reeham Youssef                                                         CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 10/29/2013                                          Signature    /s/ Reeham Youssef
                                                                     Reeham Youssef



Date                                                     Signature
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                       Acs/Bank of America
                       501 Bleeker Street
                       Utica, NY 13501



                       American Medical Collection Agency
                       2269 South Saw Mill River Road
                       Building 3
                       Elmsford, NY 10523


                       Associated Recovery Systems
                       P.O. Box 463023
                       Escondido, CA 92046-3023



                       Cach, LLC
                       4340 S Monaco Street-Unit 2
                       Denver, CO 80237-3408



                       Citibank Credit Card Services
                       P.O. Box 20487
                       Kansas City, MO 64195-9904



                       Citibank Na
                       PO Box 769006
                       San Antonio, TX 78245-9006



                       Citibank Student Loan
                       701 E. 60th Street
                       Sioux Falls, SD 57104



                       Citicorp Trust Bank
                       PO Box 769006
                       San Antonio, TX 78245-9006



                       Comenity Bank
                       P.O. Box 182125
                       Columbus, OH 43218
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                       Con Edison
                       Legal Dept.
                       4 Irving Place, 18th Floor
                       New York, New York 10003


                       Daniels & Norelli, P.C.
                       1 Old Country Road Ste Ll5
                       Carle Place, NY 11514



                       Ge Money Bank
                       Attn: Bankrutpcy Dept
                       P.O. Box 103106
                       Roswell, GA 30076


                       Harold E. Scherr
                       1064 Greenwood Blvd.-Suite 328
                       Lake Mary, FL 32746



                       I. C. System Inc.
                       444 Highway 96 East
                       P.O. Box 64378
                       St. Paul, MN 55164


                       Lvnv Funding
                       P.O. Box 10584
                       Greenville, SC 29603



                       Ny State Higher Education Svcs. Corp.
                       99 Washington Avenue
                       Albany, NY 12255



                       Paul Michael Marketing
                       159-16 Union Turnpike-Ste. 302
                       Flushing, NY 11366



                       Quest Diagnostics
                       P. O. Box 71306
                       Patient Billing Dept
                       Philadelphia, PA 19176-1306
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                       Sallie Mae
                       Loan Servicing Center
                       PO Box 9500
                       Wilkes Barre, PA 18773-9500


                       Sears/Citibank
                       PO Box 20363
                       Kansas City, MO 64195



                       Sleepy's-Gemb
                       P.O. 981439
                       El Paso, TX 79998-1438



                       Sunrise Medical Labs
                       250 Miller Place
                       Hicksville, NY 11801-1826



                       U.S. Department of Education
                       Bankrutpcy Litigation Support
                       50 Beale Street-Suite 8626
                       San Francisco, CA 94105


                       Victoria's Secret - Comenity Bank
                       P.O. Box 182273
                       Columbus, OH 43218
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B22A (Official Form 22A) (Chapter 7) (04/13)                        According to the information required to be entered on this statement
In re: Reeham Youssef                                               (check one box as directed in Part I, III, or VI of this statement):
                                                                              The presumption arises.
Case Number:                                                                  The presumption does not arise.
                                                                              The presumption is temporarily inapplicable.


      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).

                                    Part I. MILITARY AND NON-CONSUMER DEBTORS
       Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part 1A, (1) check the box at the
       beginning of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3)
       complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1A         Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).

       Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
       in Part VIII. Do not complete any of the remaining parts of this statement.
 1B

            Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

       Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of
       the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1))
       after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in
       32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active
       duty or homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary
       exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of Reservists and
       National Guard Members below, (2) check the box for "The presumption is temporarily inapplicable" at the top of this
       statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to complete the
       balance of this form, but you must complete the form no later than 14 days after the date on which your exclusion
       period ends, unless the time for filing a motion raising the means test presumption expires in your case before your
       exclusion period ends.


           Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
 1C
       below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
       component of the Armed Forces or the National Guard

              a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                              I remain on active duty /or/
                              I was released from active duty on                    , which is less than 540 days before this bankruptcy
              case was filed;
                        OR

              b.     I am performing homeland defense activity for a period of at least 90 days /or/
                     I performed homeland defense activity for a period of at least 90 days, terminating on                       , which
                     is less than 540 days before this bankruptcy case was filed.




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B22A (Official Form 22A) (Chapter 7) (04/13)

                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.       Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.       Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
                Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.       Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                               Column A        Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                                Debtor's       Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                                 Income         Income
       appropriate line.

 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $3,487.18
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. If you operate
       more than one business, profession or farm, enter aggregate numbers and provide
 4
       details on an attachment. Do not enter a number less than zero. Do not include any part
       of the business expenses entered on Line b as a deduction in Part V.
         a.   Gross receipts                                              $0.00
         b.   Ordinary and necessary business expenses                    $0.00
         c.   Business income                                    Subtract Line b from Line a                      $0.00

       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
         a. Gross receipts                                               $0.00
         b.   Ordinary and necessary operating expenses                   $0.00
         c.   Rent and other real property income                Subtract Line b from Line a                      $0.00
 6     Interest, dividends, and royalties.                                                                        $0.00
 7     Pension and retirement income.                                                                             $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 8     that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by your spouse if Column B is completed. Each regular payment should be reported
       in only one column; if a payment is listed in Column A, do not report that payment in
                                                                                                                  $0.00
       Column B.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00                                      $0.00




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B22A (Official Form 22A) (Chapter 7) (04/13)
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance
       payments paid by your spouse if Column B is completed, but include all other
       payments of alimony or separate maintenance. Do not include any benefits received
 10    under the Social Security Act or payments received as a victim of a war crime, crime
       against humanity, or as a victim of international or domestic terrorism.

         a.

         b.
       Total and enter on Line 10                                                                                  $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                   $3,487.18
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                              $3,487.18

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                  $41,846.16
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14
       court.)

       a. Enter debtor's state of residence:           New York             b. Enter debtor's household size:       1         $47,790.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.

              The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
 15           arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

              The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
       payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
 17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.

         a.

         b.

        c.
       Total and enter on Line 17.
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

                                Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
       National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
 19A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       number of persons is the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.




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B22A (Official Form 22A) (Chapter 7) (04/13)
      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
      Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
      for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
      persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are
      65 years of age or older. (The applicable number of persons in each age category is the number in that
      category that would currently be allowed as exemptions on your federal income tax return, plus the number
      of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
 19B
      persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
      persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
      amount, and enter the result in Line 19B.

         Persons under 65 years of age                             Persons 65 years of age or older

         a1.    Allowance per person                               a2.   Allowance per person

         b1.    Number of persons                                  b2.   Number of persons

         c1.    Subtotal                                           c2.   Subtotal

       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.
       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
 20B   the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b
       from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Housing and Utilities Standards; mortgage/rental expense
         b.    Average Monthly Payment for any debts secured by your home, if
               any, as stated in Line 42
         c.    Net mortgage/rental expense                                              Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 21
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 22A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.
          0       1      2 or more.
       If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:                $182.00
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)




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B22A (Official Form 22A) (Chapter 7) (04/13)
      Local Standards: transportation; additional public transportation expense.
      If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
      you are entitled to an additional deduction for your public transportation expenses, enter on Line 22B the
 22B
      "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)
          1        2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
 23
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.
       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 25    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues,
 26    and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY 401(K)
       CONTRIBUTIONS.
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 27    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 44.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 29    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.

       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 19B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 34.




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B22A (Official Form 22A) (Chapter 7) (04/13)
      Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
      you actually pay for telecommunication services other than your basic home telephone and cell phone
 32   service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
      necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
      PREVIOUSLY DEDUCTED.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

                                     Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.   Health Insurance
 34      b.   Disability Insurance
         c.   Health Savings Account
       Total and enter on Line 34
       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35    elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
       you actually incurred to maintain the safety of your family under the Family Violence Prevention and
 36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
       confidential by the court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 37    PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or
 38    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
       IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
 39    at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.




* Amount(s) are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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B22A (Official Form 22A) (Chapter 7) (04/13)
                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
       page. Enter the total of the Average Monthly Payments on Line 42.
 42                  Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.                                                                                                yes     no
         b.                                                                                                yes     no
         c.                                                                                                yes     no
                                                                                    Total: Add
                                                                                    Lines a, b and c.

       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
 43
                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c

       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 28.
       Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.

         a.   Projected average monthly chapter 13 plan payment.

 45      b.   Current multiplier for your district as determined under schedules
              issued by the Executive Office for United States Trustees. (This
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
                                                                                                                        %

         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

                                             Subpart D: Total Deductions from Income
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.

                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))

 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))

 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51
       enter the result.



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B22A (Official Form 22A) (Chapter 7) (04/13)
      Initial presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of
              this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52           The amount set forth on Line 51 is more than $12,475*. Check the box for "The presumption arises" at the top of page 1
              of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
              remainder of Part VI.
              The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53
              through 55).
 53    Enter the amount of your total non-priority unsecured debt

 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.

       Secondary presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55
              top of page 1 of this statement, and complete the verification in Part VIII.

              The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises"
              at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                           Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.


 56                                           Expense Description                                                    Monthly Amount

         a.

         b.

         c.

                                                                         Total: Add Lines a, b, and c

                                                      Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)


 57             Date: 10/29/2013                            Signature:     /s/ Reeham Youssef
                                                                           Reeham Youssef

                Date:                                       Signature:
                                                                                            (Joint Debtor, if any)




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date of adjustment.
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                                      Current Monthly Income Calculation Details
In re: Reeham Youssef                                                   Case Number:
                                                                        Chapter:     7

3.    Gross wages, salary, tips, bonuses, overtime commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Garrett H Bennett MDPC
                                             $3,076.92   $4,615.38        $3,076.92     $3,384.62     $3,384.62   $3,384.62   $3,487.18




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                                                     Underlying Allowances
In re: Reeham Youssef                                                     Case Number:
                                                                          Chapter:     7


                                                      Median Income Information
 State of Residence                                                   New York
 Household Size                                                       1
 Median Income per Census Bureau Data                                 $47,790.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          1
 Gross Monthly Income                                                 $3,487.18
 Income Level                                                         Not Applicable
 Food                                                                 $315.00
 Housekeeping Supplies                                                $30.00
 Apparel and Services                                                 $88.00
 Personal Care Products and Services                                  $34.00
 Miscellaneous                                                        $116.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $583.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $60.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Household members 65 years of age or older
 Allowance per member                                                 $144.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $0.00

                                               Local Standards: Housing and Utilities
 State Name                                                           New York
 County or City Name                                                  Kings County
 Family Size                                                          Family of 1
 Non-Mortgage Expenses                                                $613.00
 Mortgage/Rent Expense Allowance                                      $1,735.00
 Minus Average Monthly Payment for Debts Secured by Home              $0.00
 Equals Net Mortgage/Rental Expense                                   $1,735.00
 Housing and Utilities Adjustment                                     $0.00




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                                                     Underlying Allowances
In re: Reeham Youssef                                                     Case Number:
                                                                          Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                New York
 Number of Vehicles Operated                                          0
 Allowance                                                            $182.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                Not applicable
 Allowance (if entitled)                                              Not applicable
 Amount Claimed                                                       Not applicable
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                New York
 Number of Vehicles with Ownership/Lease Expense                      0
                                                    First Car                                              Second Car
 Allowance
 Minus Average Monthly
 Payment for Debts
 Secured by Vehicle
 Equals Net Ownership /
 Lease Expense




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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK
                                                BROOKLYN DIVISION
                                                                    §
IN RE:
                                                                    §
Reeham Youssef                                                      §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      7


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.


      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.



Date: 10/29/2013                  /s/ Reeham Youssef
                                  Reeham Youssef
                                  Debtor
                                  Soc. Sec. No. xxx-xx-5440

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.



Date: 10/29/2013                                                    /s/ Charles W. Juntikka
                                                                    Charles W. Juntikka, Attorney for Debtor
